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          UNITED STATES COURT OF INTERNATIONAL TRADE
           BEFORE: THE HONORABLE TIMOTHY M. REIF, JUDGE


WHEATLAND TUBE,

                    Plaintiff,

                   v.

UNITED STATES,

                    Defendant,
                                             Court No. 22-00160
and

HYUNDAI STEEL,

SEAH STEEL CORPORATION,

NEXTEEL CO., LTD., and

HUSTEEL CO., LTD.,

                    Defendant-
                    Intervenors



 PLAINTIFF WHEATLAND TUBE’S REPLY BRIEF IN SUPPORT OF THE
       MOTION FOR JUDGEMENT ON THE AGENCY RECORD

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Dated: February 6, 2023
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         Pursuant to USCIT Rule 56.2 and the Court’s Scheduling Order (ECF No.

37), Plaintiff Wheatland Tube (“Wheatland” or “Plaintiff”) submits the following

reply brief supporting Plaintiff’s motion for judgment on the agency record

(Plaintiff’s Brief, ECF No. 38).

I.       Introduction

         As set out in Plaintiff’s Rule 56.2 brief (ECF No. 38), the Department of

Commerce’s (“Commerce”) final determination in the 2019-2020 administrative

review of the antidumping (“AD”) order on circular welded non-alloy steel pipe

(“CWP”) from the Republic of Korea was arbitrary and capricious, unsupported by

substantial evidence, and contrary to law. Commerce held specifically that the

evidence on the record was inadequate to allow granting exporters Husteel Co., Ltd.

(“Husteel”) and Hyundai Steel Company (“Hyundai Steel”) a constructed export

prices (“CEP”) offset based on their claimed differences in level of trade (“LOT”)

between home market and U.S. sales. Issues and Decision Memorandum for the

Final Results of the 2019-2020 Administrative Review of the Antidumping Duty

Order on Circular Welded Non-Alloy Steel Pipe from the Republic of Korea, No. A-

580-809 (Dep’t Commerce April 26, 2022) (“Final IDM”), P.R. 301.1 Yet Commerce

granted both respondents that offset, regardless of the admitted lack of adequate

evidence on the record. Commerce argued that it had not provided the respondents

sufficient additional opportunities to provide the evidence necessary so it had to




1   Citations to documents on the public administrative record are denoted as “P.R.”
    in this brief. No citations are made to the confidential record.

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accept the inadequate evidence as sufficient. See id., P.R. 301, at 13-24.

       As detailed in Plaintiff’s brief, however, the statute, Commerce’s regulations,

determinations by the Courts, and Commerce’s own practice are all in agreement

that the burden is on the respondent seeking the CEP offset to place substantial

evidence on the record supporting its claims, not on the agency to seek it out. See

Plaintiff’s Brief, ECF No. 38, at 7-13. In repeated instances since 2018, Commerce

has held that where a party has not provided that information, it has failed to meet

that burden and so cannot be granted a CEP offset. See id. at 11-13.

       In its response brief, Defendant does not disagree with Plaintiff’s argument

that the law is clear that the grant of a CEP offset is not automatic and that the

burden to provide sufficient evidence to support a claim for that offset is on the

party seeking it. See Defendant Response Brief, ECF No. 39, at 11-12. But,

Defendant argues, Commerce did not grant the offset automatically here even

though Commerce had found that burden had not been met. Id. Yet that is exactly

what the agency did: it granted the offset to Husteel and Hyundai Steel not because

it was supported by the record but because Commerce decided it could not not grant

the offset for another reason. Thus, Commerce defaulted to an automatic

application of granting the offset whether or not the evidence supported it. As that

automatic grant is incompatible with the statute, precedent, and Commerce’s own

practice, Commerce’s decision to do so was arbitrary and capricious and contrary to

law.




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II.      19 U.S.C. § 1677m(d) is inapplicable where Commerce has not
         rejected any information as deficient.

         Defendant and certain Defendant-Intervenors2 argue that Commerce’s grant

of the offsets was required by 19 U.S.C. § 1677m(d) and that this statutory

provision overrules other authorities that place the evidentiary burden

affirmatively on the respondent parties. See Defendant Response Brief, ECF No. 39,

at 11; Husteel Rebuttal Brief, ECF No. 40 at 2-3; Hyundai Steel Response Brief, ECF

No. 41, at 3-4.

         However, these parties ignore the complete language of § 1677m(d), omitting

the plain language that makes that section inapplicable here. Hyundai Steel, for

example, quotes § 1677m(d) in its response brief, but cuts off from its quotation

(with no indication it is doing so) the final part of the section. Hyundai Steel

Response Brief, ECF No. 41, at 3.

         The complete text of § 1677m(d) is

               (d)   Deficient submissions

                     If the administering authority or the Commission
                     determines that a response to a request for
                     information under this subtitle does not comply
                     with the request, the administering authority or
                     the Commission (as the case may be) shall
                     promptly inform the person submitting the
                     response of the nature of the deficiency and shall,
                     to the extent practicable, provide that person with
                     an opportunity to remedy or explain the deficiency
                     in light of the time limits established for the
                     completion of investigations or reviews under this


2   Defendant-Intervenors NEXTEEL Co., Ltd. and SeAH Steel Corporation have
    submitted short briefs only claiming to incorporate by refence the arguments made
    by Defendant and other Defendant-Intervenors. See ECF Nos. 42 and 43.

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                    subtitle. If that person submits further information
                    in response to such deficiency and either—

                     (1)   the administering authority or the
                           Commission (as the case may be) finds that
                           such response is not satisfactory, or

                     (2)   such response is not submitted within the
                           applicable time limits,

                    then the administering authority or the
                    Commission (as the case may be) may, subject to
                    subsection (e), disregard all or part of the original
                    and subsequent responses.

19 U.S.C. § 1677m(d) (emphasis added).

      The final phrase of § 1677m(d) (the part that is overlooked in Defendant’s

and Defendant-Intervenors’ arguments) explains when the limitations on the

agency’s action that are provided for are triggered: when Commerce seeks to

disregard something submitted by a respondent because it does not comply with

Commerce’s request. Commerce cannot reject what is submitted for being deficient

until it has given the submitter an opportunity to correct whatever was deficient

about that submission. See, e.g., Deacero S.A.P.I. de C.V. v. United States, 353 F.

Supp. 3d 1303, 1310 fn.9 (Ct. Int’l Trade 2018) (“Pursuant to 19 U.S.C. § 1677m(d),

Commerce can disregard information submitted by a party….”).

      But Commerce did not disregard any information submitted by respondents

in the challenged decision here. It did not substitute adverse facts available, or even

neutral facts available, in place of anything submitted by Husteel or Hyundai Steel.

Commerce instead did examine the evidence submitted by those respondents and

found it to be insufficient, not deficient. See Final IDM, P.R. 301, at 13. But


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Commerce then argued that because it had not sought more information from the

respondents it would ignore its finding that the evidence on the record was factually

insufficient and would declare that it was “sufficient for purposes of this segment”

for that reason. Id. at 14.

       But § 1677m(d) provides Commerce no authority to transform insufficient

evidence into somehow factually sufficient evidence by fiat. Here, Commerce first

stated specifically that the evidence offered by the respondents was inadequate. Id.

at 13. The term “inadequate” is an antonym of “sufficient.” See Merriam-Webster

Thesaurus: sufficient. It is impossible for evidence to be both “inadequate” and

“sufficient.” Section 1677m(d) does not provide any basis for Commerce to make

such an internally contradictory finding that evidence is both inadequate and

sufficient.

       By its plain terms, that section of the statute only applies to how Commerce

can reject information on the record for being deficient in some regard and where

Commerce seeks to substitute other information (including adverse inferences) for

what was deficient and disregarded. That is not what occurred here. And nothing in

§ 1677m(d) allows, much less directs, Commerce to ignore its obligation to make a

determination that is supported by substantial evidence on the record, particularly

when the agency has recognized that the evidence before it is inadequate. If

Commerce is not rejecting the information as deficient (which it did not here), then

§ 1677m(d) remains irrelevant and gives no instruction how Commerce should treat

inadequate or insufficient evidence. The requirement that Commerce make a



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determination supported by substantial evidence remains unchanged. See 19 U.S.C.

§ 1516a(b)(1)(B)(i); see also, e.g., SeAH Steel VINA Corp. v. United States, 950 F.3d

833, 847 (Fed. Cir. 2020) (“While the burden of creating an adequate record lies

with {interested parties},’Commerce must, nonetheless, support its decision with

substantial evidence, {g}uesswork is no substitute for substantial evidence in

justifying decisions;” citations and quotation marks omitted).

      The Court of International Trade (“CIT”) has directly rejected the argument

that §1677m(d) prevents Commerce from finding that information on the record is

insufficient to support a CEP offset without providing respondent parties a chance

to revise the record as though Commerce was rejecting the evidence they choose to

submit. The CIT found it to be irrelevant that “Commerce never requested any

additional information or clarifications… in any supplemental questionnaire or

otherwise indicated that any deficiency existed in the record regarding this issue”

because “{t}he burden falls to the party seeking the CEP offset to provide the

requisite evidence that would allow Commerce to determine that a CEP offset

adjustment is warranted.” Dong-A Steel Co. v. United States, 475 F. Supp. 3d 1317,

1347, fn. 22 (Ct. Int’l Trade 2020) (quotation marks omitted). The Court specifically

rejected the relevance of § 1677m(d) to this situation in that case, explaining that

“Commerce had no obligation under 19 U.S.C. § 1677m(d)” because Commerce was

not rejecting any information for being deficient. “Rather, the fundamental

difference in conclusions reached by {the respondent} and Commerce derived not

from any shortcomings in the data, but rather from differing yet equally reasonable



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interpretations of the evidence.” “That Commerce did not request any additional

information beyond what was provided by {the respondent} does not discredit the

validity of the conclusion drawn from that evidence.” Id.

         Defendant seeks to discount the Court’s explanation in Dong-A, arguing that

case was distinguishable because Commerce had not accepted that respondent’s

CEP offset claims in prior instances and because, Defendant argues, the issue here

“is whether the information provided was sufficient.” Defendant Response Brief,

ECF No. 39, at 13-14. Those claims are without merit. Such considerations are

nowhere found in the Court’s holding in Dong-A, so the claim that the holding is so

limited is not supported by the decision itself. Instead, the plain language of that

decision is clear that § 1677m(d) did not apply because Commerce was not finding a

response deficient, only insufficient. Here, Commerce likewise did not find the

respondents’ submissions deficient, only insufficient.

         Defendant-Intervenor Husteel argues that this Court’s decision in Eregli

Demir establish that application of § 1677m(d) is “mandatory” in this situation,

“regardless of the burden of proof.” See Husteel Response Brief, ECF No. 40, at 2-3.

Husteel’s argument misses the saliant fact in Eregli Demir: in that case, Commerce

did reject certain documents and quantity and value information the respondent

presented as evidence supporting its claim3 as deficient, “point{ing} to partial




3   Husteel also states that Eregli Demir “examined this very issue.” Husteel Response
    Brief, ECF No. 40, at 3. It is not clear from Husteel’s language if it means the
    “very issue” of the CEP offset or the issue of § 1677m(d) more generally; but Eregli
    Demir did not address CEP offsets. That case instead addressed the burden on a
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translations and the illegibility of certain documents on the record.” Eregli Demir v.

Celik Fabrikalari T.A.S, 308 F. Supp. 3d 1297, 1317-19 (Ct. Int’l Trade 2018). The

question was whether Commerce needed to issue a supplemental questionnaire to

the respondent on that issue, and the Court found “Commerce did not address the

requirements of § 1677m(d)” before rejecting the documents from its consideration

of the evidence on the issue before it. Id., 308 F. Supp. 3d 1317-18. Because

Commerce did reject that evidence as deficient, the Court found § 1677m(d) did

impose obligations on the agency. See id., 308 F. Supp. 3d 1318 (“Commerce erred in

failing to inform {the respondent} that its supplemental submission was deficient

…”). Here, Commerce did not reject any documents submitted by either respondent

— neither from the record nor from its consideration — for a lack of translation nor

for any other issue of deficiency. Instead, Commerce addressed all the evidence that

was before it and found it insufficient to meet the burden that respondents bear in

demonstrating entitlement to a CEP offset. Section 1677m(d) has no instructions for

the agency in that situation.

         Tellingly, nowhere does Defendant point to any deficiency that was identified

by Commerce in either Husteel’s or Hyundai Steel’s submissions. Defendant

properly states that Commerce instead found their “responses were insufficient.”

Defendant Response Brief at 11.4 Commerce identified no deficiency in any of the



    respondent seeking a duty drawback adjustment. See Eregli Demir, 308 F. Supp.
    3d at 1304, 1318.
4   In its response brief, Defendant-Intervenor Hyundai Steel argues that it had in
    fact provided sufficient evidence to support its claim for a CEP offset. See Hyundai
    Steel Response Brief, ECF No. 41, at 5-6, 8-10. But that is not what the agency
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evidence before it that caused it to dismiss that evidence as unusable. See Final

IDM, P.R. 301, at 14. Commerce stated only that Husteel and Hyundai Steel did not

have “an opportunity…to remedy any deficiency in their quantitative analyses by

providing additional information in a supplemental questionnaire response.” Id. But

Commerce never identified any deficiency in that analysis, it simply described the

respondents’ submissions as insufficient to meet the burden of proof those

respondents bore. See id. at 13-14. But sufficiency gets no consideration under

§ 1677m(d), so Commerce cannot use that section of the statute to escape the

burden on it to address the evidence that actually is (or is absent from) on the

record.

III.   Commerce cannot use the inapplicable § 1677m(d) to escape the
       requirements of § 1677b(a)(7)(A) in granting a CEP offset.

       As noted above and as detailed in Plaintiff’s opening brief, the statute

requires that Commerce affirmatively find that evidence on the record is adequate

before Commerce is authorized to make a CEP offset (or any other LOT

adjustment). Plaintiff’s Brief, ECF No. 38, at 7-13. 19 U.S.C. § 1677b(a)(7)(A)

requires that difference in LOTs be “shown to be wholly or partly due to a difference

in level of trade” and that difference be “demonstrated to affect price comparability,”

(emphasis added). That language, limiting the granting of these adjustments to only




 tasked with making the determination of the sufficiency of the evidence found:
 Commerce expressly found Hyundai Steel’s evidence to be inadequate. Final IDM,
 P.R. 301, at 13. Hyundai Steel has not challenged that determination before this
 Court, so Hyundai Steel’s arguments that Commerce’s inadequacy determination
 was incorrect are entirely irrelevant.

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those instances where they are fully supported by evidence on the record, is entirely

purposeful. Congress explained that it intended that

             Commerce will carefully investigate whether a level of
             trade adjustment should be made to increase or decrease
             normal value. However, if a respondent claims an
             adjustment to decrease normal value, as with all
             adjustments which benefit a responding firm, the
             respondent must demonstrate the appropriateness of such
             adjustment.

             Commerce will require evidence from the foreign
             producers that the functions performed by the sellers at
             the same level of trade in the U.S. and foreign markets
             are similar, and that different selling activities are
             actually performed at the allegedly different levels of
             trade…. Because level of trade adjustments may be
             susceptible to manipulation, Commerce will closely
             scrutinize claims for such adjustments….

             Where it is established that there are different levels of
             trade based on the performance of different selling
             activities, but the data establish that there is a pattern of
             no price differences, the level of trade adjustment will be
             zero. No further adjustment is necessary.

Statement of Administrative Action accompanying the Uruguay Round Agreements

Act, H. R. Doc. No. 103–826(I), at 829-830, reprinted in 1994 U.S.C.C.A.N. 4040,

4167-68, (“SAA”) (emphasis added). To repeat Congress’ explicit intent: “if a

respondent claims an adjustment to decrease normal value…the respondent must

demonstrate the appropriateness of such adjustment.”

      This language is mandatory, not permissive. Commerce is not allowed to

make an LOT adjustment where the respondent has not supported its claim, even if

Commerce believes it could have asked for more information from that respondent.




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The respondent must make that demonstration before Commerce may act.5

         Commerce’s regulations reflect that statutory requirement. See 19 C.F.R.

§ 351.412. The regulations state that if Commerce cannot determine whether the

requisite differences in LOTs exist and affect price comparability, Commerce “will

not grant either a level of trade adjustment or a constructed export price offset.” 19

C.F.R. § 351.412(f). This Court has also recognized that “it is the responsibility of

the respondent requesting the CEP offset to procure and present the relevant

evidence to Commerce.” Ad Hoc Shrimp Trade Action Comm. v. United States, 33

C.I.T. 533, 556, 616 F. Supp. 2d 1354, 1374 (Ct. Int’l Trade 2009); see also Dong-A

Steel, 475 F. Supp. 3d at 1345; Hyundai Steel Co. v. United States, 365 F. Supp. 3d

1294, 1300 (Ct. Int’l Trade 2019); Micron Tech., Inc. v. United States, 243 F.3d 1301,

1316 (Fed. Cir. 2001) (“the CEP offset will not be automatic;” “such adjustments will

not be routine under Commerce’s interpretation of the {statute}….”).

         Commerce itself has articulated this same position in other determinations


5   In its response brief before this Court, Defendant-Intervenor Hyundai Steel seeks
    to pin blame for its failure to adequately create the record before the agency on
    Plaintiff, claiming that Plaintiff should have raised any issues with the
    insufficiency of the evidence Hyundai Steel submitted early in the review before
    Commerce. Hyundai Steel Response Brief, ECF No. 41, at 3-4. This argument is
    entirely facetious. Hyundai Steel cites to no authority to support its proposition
    that a domestic interested party in a review bears the burden of ensuring that a
    respondent party has submitted sufficient evidence to support a price adjustment
    sought by the respondent. As discussed above, all authorities instead agree that
    burden is entirely on the respondent. Hyundai Steel cannot excuse its failure to
    have met its burden here because Plaintiff did not hold Hyundai Steel’s hand and
    guide it through the review. Hyundai’s reliance on instances where Commerce
    found it did not have sufficient time to address certain issues at the briefing stage
    (see id. at 5) are clearly inapposite here, where Commerce did address this issue in
    its final determination.

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where a respondent has failed to meet its evidentiary burden to qualify for a CEP

offset. See, e.g., Notice of Final Determination of Sales at Less Than Fair Value and

Negative Final Determination of Critical Circumstances: Certain Frozen and

Canned Warmwater Shrimp From Thailand, 69 Fed. Reg. 76,918 (Dep’t Commerce

Dec. 23, 2004), accompanying Issues and Decision Memorandum at Comment 5;

Carbon and Alloy Steel Wire Rod From the Republic of Korea: Final Results of

Antidumping Duty Administrative Review; 2019-2020, 87 Fed. Reg. 5792 (Dep’t

Commerce Feb. 2, 2022), accompanying Issues and Decision Memorandum at 16.

      In sum, Commerce’s decision here to overlook Husteel’s and Hyundai Steel’s

failure to meet the burden placed upon them by the statute was not only arbitrary

and capricious, it was contrary to both law and to Commerce’s practice. Commerce

cannot excuse its open failure to follow the dictates of the statute by relying on

§ 1677m(d) when the provisions of that section are not applicable to the matter

before Commerce by their own terms. Thus, the Court must find that Commerce’s

determination to grant an CEP offset to Husteel and Hyundai Steel in this review

was unsupported by substantial evidence and contrary to the law.

IV.   Commerce was not bound by prior determinations to grant a CEP
      offset in the instant review regardless of the inadequate record
      actually before it.

      Faced with an acknowledged insufficiency of evidence in the record before it

and the inevitable demands of the statute and its own regulations and practice,

Commerce rationalized its decision to grant the offsets anyway by stating only that

it had not provided additional opportunities for the respondents to meet their

burden. Final IDM, P.R. 301, at 13-14. In its response brief, Defendant argues that
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somehow the evidence Husteel and Hyundai Steel chose to offer was found to be

deficient because Commerce had previously granted CEP offsets based on similar

evidence in other proceedings. See Defendant Response Brief, ECF No. 39, at 11.

      That claim is purely post hoc rationalization. See, e.g., DAK Americas LLC v.

United States, 456 F. Supp. 3d 1340, 1364 (Ct. Int’l Trade 2020) (“this is a post hoc

rationalization that the court may not consider.”). Commerce did not support its

decision below based on any prior determination, and did not even cite to any prior

determination on CEP offsets in its Issues and Decision Memorandum. See Final

IDM, P.R. 301, at 13-14. Whether similar information was previously accepted in

other proceedings was not considered in the decision the agency presented here.

      And even it if had examined whether it had accepted such evidence as

sufficient in the past, that fact would in no way excuse Commerce’s decision to do so

here. A failure to abide by the constraints of the statute and its own regulations in a

prior instance does not excuse the failure to do so here; Commerce cannot overrule

statute with an alleged practice.

      Defendant argues however that Commerce is bound by “principles of

fairness” to a prior practice. Defendant Response Brief, ECF No. 39, at 14.

Defendant cites to two of Commerce’s prior reviews of this order. Id. at 9 (the 2017-

2018 and 2018-2019 review). But as this Court has said, “…two prior

determinations are not enough to constitute an agency practice that is binding on

Commerce.” Shandong Huarong Mach. Co. v. United States, 30 C.I.T. 1269, 1293

(2006); see also Mid Continent Steel & Wire, Inc. v. United States, 203 F. Supp. 3d



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1295, 1312 (Ct. Int’l Trade 2017) (stating the same). In contrast, Commerce has

stated in numerous recent determinations that its current practice is otherwise:

             Since 2018, Commerce has required respondents to
             provide quantitative evidence in support of their LOT
             claims. In other recent final determinations, Commerce
             has declined to find the existence of different LOTs when
             the record lacked sufficient quantitative evidence
             corroborating a respondent’s LOT claims.

Certain Frozen Warmwater Shrimp From Thailand: Final Results of Antidumping

Duty Administrative Review; 2019–2020, 87 Fed. Reg. 69 (Dep’t Commerce Jan. 3,

2022), accompanying Issues and Decision Memorandum at 17; see also, e.g.,

Seamless Carbon and Alloy Steel Standard, Line, and Pressure Pipe From Ukraine:

Final Affirmative Determination of Sales at Less Than Fair Value, 86 Fed. Reg.

35,272 (Dep’t Commerce July 2, 2021), accompanying Issues and Decision

Memorandum at 13-14; Common Alloy Aluminum Sheet From Bahrain: Final

Affirmative Determination of Sales at Less Than Fair Value, 86 Fed. Reg. 13,331

(Dep’t Commerce Mar. 8, 2021), accompanying Issues and Decision Memorandum at

20-21; Emulsion Styrene-Butadiene Rubber from Brazil: Final Results of

Antidumping Duty Administrative Review; 2017-2018, 85 Fed. Reg. 38,847 (Dep’t

Commerce June 29, 2020), accompanying Issues and Decision Memorandum at 11.

      Defendant’s position that Commerce’s acceptance of evidence as sufficient in

the past remains binding on Commerce despite Commerce’s widespread recognition

that its practice has changed is particularly untenable here. An agency may of

course change its practice for good reason and if it “adequately indicates” it is

making a change. FCC v. Fox Television Stations, Inc., 556 U.S. 502, 517, 129 S.Ct.


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1800, 1811, 173 L.Ed.2d 738 (2009). As discussed above, there is good reason behind

Commerce’s change in practice regarding the evidence, particularly qualitative

evidence, that is necessary to support the granting of CEP offsets: Commerce is

instructed to do so by the statute. Commerce has also further explained that such a

step is necessary to prevent manipulation of the LOT adjustment process. See, e.g.,

Polyethylene Terephthalate Sheet from the Republic of Korea, 85 Fed. Reg. 44,276

(Dep’t Commerce July 22, 2020) and accompanying Issues and Decision

Memorandum at 20. Commerce has announced that new procedure widely in other

determinations, as cited above. In addition, in the latest determinations relied upon

by Defendant, Commerce explicitly informed respondents that it was “taking

advantage of this opportunity to inform Husteel that in future administrative

reviews a more detailed and robust quantitative analysis of its selling functions will

be required for us to consider a CEP offset.” Circular Welded Non-Alloy Steel Pipe

From the Republic of Korea: Final Results of Antidumping Duty Administrative

Review and Final Determination of No Shipments; 2018–2019, 86 Fed. Reg. 53,631

(Dep’t Commerce Sept. 28, 2021), accompanying Issues and Decision Memorandum

at 17 (“CWP 18-19 IDM”).6 And in this review, Commerce also explicitly directed

Husteel and Hyundai Steel to provide substantial evidence to support any LOT

claims they made, including specifically to provide a qualitative analysis showing

the impact on price comparability. See Initial Questionnaire to Husteel Co., Ltd.




6   Hyundai Steel was also a respondent in that preceding review, so would have also
    been equally aware of Commerce’s warning. See CWP 18-19 IDM at 1.

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(Dep’t Commerce Feb. 23, 2021), P.R. 26, at pages A-7 – A-8; Initial Questionnaire

to Hyundai Steel Company (Dep’t Commerce Feb. 23, 2021), P.R. 25, at pages A-7 –

A-8.

       Though forewarned that prior evidence would no longer be accepted as

sufficient and instructed what additional evidence would be necessary, Husteel and

Hyundai Steel yet submitted only “comparable information” again. Defendant

Response Brief, ECF No. 39, at 14. And, as it warned it would, Commerce found that

evidence was not sufficient to meet the requirements of the statute or the needs of

the agency. But then Commerce declared that the inadequate evidence as sufficient

for other reasons and granted the offsets anyway, exactly what it warned it would

not do. Such actions are arbitrary and capricious.

V.     Conclusion

       In short, the answer to Defendant’s challenge that Plaintiff fails to explain

why Commerce “would not have run afoul of section 1677m(d)” if it had denied the

CEP offsets here (Defendant Response Brief, ECF No. 39, at 15) is simply that

§ 1677m(d) would not be triggered because Commerce’s acting on the inadequacy of

the evidence before it would be based on examining that evidence, not rejecting that

evidence. Because Commerce found that evidence to be insufficient to support

granting a CEP offset, Commerce’s decision to grant the offsets anyway runs afoul

of 19 U.S.C. § 1677b(a)(7) and Congress’ express instruction that no CEP offset be

granted based on such insufficient evidence.

       Plaintiff therefore respectfully requests that this Court hold that Commerce’s

decision to grant CEP offsets to Husteel and Hyundai Steel in the review at hand
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was arbitrary and capricious, not supported by substantial evidence, and otherwise

not in accordance with the law and remand this action to Commerce with

instructions to recalculate the dumping margins assigned to Husteel, Hyundai

Steel, and the other respondents in the challenged review as necessary, consistent

with the Court’s decision.

                                                   Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      The undersigned counsel at Schagrin Associates hereby certifies that the

Reply Brief of Plaintiff Wheatland Tube, dated February 6, 2023, complies with the

word-count limitation set out in this Court’s Scheduling Order of July 29, 2022

(ECF No. 37), limiting Plaintiff’s Reply brief to 7,000 words. This response brief

contains 5,156 words according to the word count function of the word processing

software used to prepare the brief.

                                                    Respectfully submitted,

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